
PER CURIAM.
h Denied. Relator fails to show he was denied access to the courts by an arbitrary and unjustified enforcement of the uniform rules governing the filing of applications in the court of appeal, and thus shows' no error in the Third Circuit’s denial of writs on technical grounds. La.C.Cr.P. art. 912.1(C). Furthermore, the District Court correctly found that relator’s application was not timely filed in the District Court, and relator fails to carry his burden to show that an exception applies. La.C.Cr.P. art. 980.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189.
Relator has now fully litigated his application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set' out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La,C.Cr,P. art. 930.6, and this denial is final. Hereafter, unless he can 12show that one of the narrow exceptions authorizing the filing of a successive application applies, relator -has ■ exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per, curiam.
